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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                    §
                                            §
VS.                                         §   MAGISTRATE NO. C-09-654-1
                                            §
JAMES PITTMAN                               §

 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

        A detention hearing has been held in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The following requires detention of the defendant pending trial in this

case:

        (1)   There is probable cause to believe the defendant committed an offense for

which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C.

§ 841(b)(1)(A); and

        (2)   The defendant has not rebutted the presumption that no condition or

combination of conditions will reasonably assure the appearance of the defendant as

required and the safety of the community.

        The evidence against the defendant is substantial. Both defendants in this case

were being paid to transport more than 100 kilograms of cocaine. The findings and

conclusions contained in paragraphs one through six of the Pretrial Services Report are

adopted, supplemented by the testimony of Cindy Pittman. The amount of cocaine

involved in this case is over twenty times the amount necessary to trigger a ten-year

minimum mandatory sentence. A loaded weapon was found near the cocaine, tipping the

balance in the case toward detention.


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       The defendant is committed to the custody of the Attorney General or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an

attorney for the Government, the person in charge of the corrections facility shall deliver

the defendant to the United States marshal for the purpose of an appearance in connection

with a court proceeding.

       ORDERED this 28th day of July, 2009.


                                              ___________________________________
                                              B. JANICE ELLINGTON
                                              UNITED STATES MAGISTRATE JUDGE




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